Case 2:23-cv-00677-DAD-CSK   Document 1-2   Filed 04/10/23   Page 1 of 31




                EXHIBIT 1




                EXHIBIT 1
                Case 2:23-cv-00677-DAD-CSK                                Document 1-2             Filed 04/10/23                   Page 2 of 31
                                                                                                                             FOR COURT USE ONLY
                                                                                                                         (soLo PARAUSO DE tA coRfa)
                                        SUMMONS
                                   (C,TACION JUD'CIAL)                                                                           TLECTRG\-IC.TALT

NOTICE TO DEFENDANT:                                                                                                               FILED
(AWSO AL DEMANDADO):                                                                                                  STTER.ON- COLAT OT CiLtrOE.}.T{
                                                                     Nc. ; a corporation; Tl ME DURAY'                      111812023 7:54 PM
DURAY I NSURANCE AND fiNANclAL sERVlcES,
                                                                 I


an individual; Does 1 through 100 lnclusive
                                                                                                                                  C-.,gE cflEhue
                                                                                                                        I{eiir Fir:r:gar- Clerk cftl:e Cor:rt
YOU ARE BEING SUED BY PLAINTIFF:
(L.O ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                         regoria Guardado                  D:;'grt
                                                                                                                                     EFILED
TESSA CHANDLER, an individual


                                                                                                           you respond               days.         the
             You          been         court may decide against You without your being heard unless
 below                                                                                                               response at this court and have a copy
    you have 30 CALENDAR DAys after this summons and legal papeqare served on you to file a written
                                                                  yoi. Vour written  ,".pon"u    must be in proper legal form if you want the court to hear your
 served on the plaintiff. A letter or phone call will not protect                                       forms  and more   information at the california courts
                                                                            You can nna tnes! court
 case. There may be a coun form that you can use for youi Lipo"i".                                           nearest you. lf you cannot pay the filing fee' ask
 online self-Help center    (www.aurtinfo.ca.gou/setfhetpl,    v""i'*r"tv   rr*  tiurary, or tie-corttttor""
                                                                                     you may lose the case by defzult, and your wages' money' and property
 lhe court clerk for a fee waiver form. lf you do not file youi iesponse on time,
 may be taken without further warning from the court' .
                                                                                               lf you do not know an attorney, you may want to call an attorney
     There are other legal requirements. you may want to call an attomey right away.
                                                           .




 referral service. tf you cannot afford an attorney, vou ,"v o"              roi rrd." tegallervices from a nonprofit legal services program' You can locate
                                                                                                                       Courts Online Self-Help Center
 lhese nonprofit groups at the Catifomia Legal Services.W"O ritJtt rr. lawhetp:catifornia.org), tfrg-Ca-lrJornia
                                                                    "rig,br"
                                                       y-our local court or county bar associationl'l.ioTEr Ttre court has a statutory lien for waived
                                                                                                                                                         fees and
 \www.couftinfo.ca-gov/selfhetp),     or by contacting
                                            a*aro ot $rb,ooo   or more  in a civil case. The  court's lien must be paid before the court will dismiss the case'
 costs on any selflement    o,
                               "rui'totion
  iAVISO! Lo han demandado. Si no responde dentro de
                                                                30 dias, la cofte puede decidir en su contra sin escuchar su version' Lea Ia informacion a
 cantinuacion.
 --
     liiii  io oies DE cALENDARta despues de que le entreguen esta citaci,n y papeles tegatei para                 presentar una rcspuesta por escrdo en esla
                                                                                                              protegen. Su respuesta p or escrito tiene que estar
  corte y hacer que se entregue una copia at demandante. Uni carta o una ltamada telefilnica no lo
 en foimato legal correcto jl desea que procesen su caso en la cofte. Es posible que haya un formulaio que u.sted pueda usar Para sc respuesta.
  puede enconlrar estos formularios de ia corte y mds informacion en e! Centro de Ayuda de /as CorIes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la arte que le quede mds cerca. Si no puede pagar la cuota de presentacian, pida al secretario de la cofie
 qua te dC un foTmutario de exanci6n de pago de cuofas. Si no presenta su respuesta a tienpo, puede perder e! caso por incumplimiento y la coie le
 podra quitar su sueldo, dinero y bienes sin mes adverlencia.
    Hay otros requisitos regares. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisian a abogados. Si no puede pagar a un abogado, es posible que cumda con los requisitos para obtener setvicios legales gratuitos de un
 pragrama de servicios legales sin fines de lucro. Puede encontrar esfos grapos sin fines de lucro en el sitio web de Califomia Lega, Services,
 (wwwlawhelpcalifomia.org), en el Centro de Ayuda de las Cottes de California, (www.sucorte.ca.gov) o poniandose en contacto con la cofte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los cosfos exenfos por imponer un gravamen sobrc
 cualquier recuperaci6n de $1A,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un casa de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la cofte pueda desechar el caso.

The name and address of the court is:                                                                        CASE NUMBER:
                                                                                                             (Nhnero del Cae):
(El nombre y direccibn de la corte es): Tehama Superior Court                                                                      23Ct-000013
 1740 Walnut Street
 Red Bluff, CA 96080

The name, acldress, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el nitmero de tel6fono del abogado del demandante, o del demandante que no tiene abogado, es):
 Brianl.Vogel,VOGELLAW,APC,ST2E.GreenStreet,Suite30S,Pasadena,CA 91101; g21j7ge.74TO
                                                                                               lirr.,r* l-f*riig.an
_DlrF, . 1t17t20231t18t2029 7:54 pM                                               Clerk, by         ni{iir-'Caurt Gregoria Guardado, Deputy
(Fecha)                                                                                                                                                   (Adjunto)
            service       summans, use Proof of                                 POS-010).)
(Para prueba de entrega de esfa citati6n use el formulario proof of Service of Summons, (POS-010)).
                                NOTICE TO THE PERSON SERVED: You are seryed
 tsEALl
        'i                                as an individual defendant.
               ir.             2. f-1 as the person sued under the fictitious name of (epecify):



                                          under: I---l CcP 416.'10 (corporation)
                                                                                                              fl        CCP 416.60 (minor)
                                                               CCP 416.20 (detunct corporation)
                                                                                                              ff        CCP 416.70 (conservatee)
                                                               CCP 416.40 (association or partnership)
                                                                                                              tl        CCP 416.90 (authorized person)

                                      4. [--l by personal delivery on (datQ
                                                                                                                                                                  .ll
 Fom Adopted for Mandatory U*
   Judicid Council of Catifryn-€                                            SUMII,IONS                                               tue of Civil PEedure SS412.20,465
   SUM-100 [Rev. Jdy 1.20ogl                                                                                                                        ww.@udinlo.@.gov
                                                                                                                                                                  cM-010
ATTORNEY oR PARry WTHOUT ATToRNEY (rllam6, srat€ Bar numbar, and addtas):
                                                                                                                                 FOR COURT USE ONLY
Brian l. Vogel,
            Case    2:23-cv-00677-DAD-CSK
                Esq./SBN: 130113                                            Document 1-2                Filed 04/10/23                Page 3 of 31
VOGEL LAW, APC, 572 E. Green St, Suite 305, Pasadena, CA 91101
                                                                                                                                     ILECTRO.\-TC.{ILT
                TELEPHoNE   No.:(626(796-747A                 FAx No. fod,nar:
               E-MAIL ADDRESS: VOqellawfi   rm@oma il.COm                                                                               FILED
     ATToRNEY FoR /Nam), Plaintiff.        TesSa Chandler                                                               CTTEE-ON- COI-;RT OT CiIIFDE].L{
SUPERIOR COURT OF CALIFORNIA, COUIrY OF Tehama                                                                                 1l1Bl2O23 7:54 PM
 STREETADDRESS: 1740 Walnut Street
MAILINGADDRESS: 1740 Walnut Street Red $ftrff. CA 96080
                                                                                                                                      Cc':g; cf ?"l,r"ni
                                                                                                                            Ke:.ir Iia::eaq Cteil; cfihE C'.urt
clrY AND zlP coDe; Red Bluff 96080
         BRANCHNAME:Civil and Familv Law Division                                                                                            Guardado                 D=pu!
CASE NAME:                                                                                                                                 EFILiD
Chandler v. Duray
             CIVIL CASE COVER SHEET                                  Complex Case Designation                 CASE NUMBER:

[-'ii-l Unlimited
                                                                                                                                   23Cr-000013
                           l--l Limited          [-l counter                   Joinder
              (Amount           (Amount
                                                Filed with first appearance by defendant
              demanded          demanded is
                                                     (Cal. Rules of Court, rule 3.402)
                                                                                                              JUDGE:

              exceeds $25,000) $25,000 or less)                                                               DEPT.:

                                                                 must                                     on page
 1. Check one box belowforthe case type that best describes this case:
         Auto Tort                                            Contract                                     Provisionally Gomplex Givil Litigation
         l        Auto (22)                                   I--l    Breach of contracVwarranty (06)      (Cal. Rules of Court, rules 3.4{X}.3.403)

         r:f      Uninsured motorist (46)
         Other PIIPDMD (Personal lnjury/Property
                                                                      Rule 3.740 collections (09)          [--_l AntitrusUTrade regulation (o3)
                                                                                                           l---l Conslruction defect (10)
                                                                      Other collections (09)
         DamageMrongful Dedh) Tort                                                                         [---l Masstort (40)
                                                              l-_l    Insurance coverage (18)
                  Asbestos (04)                                                                                   Securities litigation (28)
                                                              l--l other contract (37)
                  Product liability (24)                                                                          Environmental/Toxic tort (30)
                                                              Real Property
                  Medical malpractice (45)                                                                        lnsurance coverage claims arising from the
                                                              l--l    Eminent domain/lnverse
                                                                                                                  above listed provisionally complex case
         [-_l otner PIIPDnlvD (23)                                    condemnation (14)
                                                                                                                  types (41)
         Non.Pl/PDMD (Other) Tort                             l---l wrongtul eviction (33)                 Enforcement of Judgment
         I---l    Business torUunfair business practice (04   J_-l other real property (26)                l-_l   Enforcement of judgment (20)
         [--l ciuit rishts (o8)                                Unlawful Detainer
                                                                                                           Miscellaneous Civil Cornplaint
         [---l Defamation (13)                                l--l    Commercial (31)
                                                                                                           [-_l ntco izzl
         l---l Fraud (16)                                     n       Residential (32)
                                                                                                           l--l   Otner complaint fnot spe cified above) (42)
                  lnlellectual property (1 9)                 l--l    Drugs (38)
                                                                                                           Miscellaneous Civil Petition
                  Professional negligence (25)                 Judicial Review
                                                              fl Asset forfeiture (05)                     l---l Partnership and corporate governance (21 )
         f]]      Other non-Pl/PDMD tort (35)
         Employment                                           fl    Petition re: arbitration award (11)

         [i-l     Wrongful termination (36)                   l--l Wrir of mandate (02)
                  Other employmenl (15)                       [-.-l Otner ludicial review (39)
2. This case f--l is [-FI is not complex under rule 3.400 of the California Rules of Court. lf the case is complex, mark the
             factors requiring exceptional judicial management:
         a. l---l Large number of separately represented parties d. T_l Large number of witnesses
         b. T-l Extensive motion practice raising difficult or novel e. Coordination with related actions pending in one or more
                      issues that will be time-consuming to resolve                         courts in other counties, states, or countries, or in a federal
         c. l--.l Substantial amount of documentary evidence                                court
                                                                                   t.       Substantial postjudgment judicid supervision
,l
             Remedies sought (check all that appty): a. l-FI monetary b.                  nonmonetary; declaratory or injunctive relief c. I-I-l punitive
4.           Number of causes of action (specify): g
5.           This case l-_l is l-?-] is not a class aetion suit.
 6.          lf there are any known related cases, file and serve a notice of related case. (you
Oate; 1llOlZOZA
Brian l. Vogel
                                       OR PRINT


     . Plaintifi must file this cover sheet with the first paper filed ,rlHt"|ctn o, oro;""oinffi*, srnatt daims cases or cases filed
         under the Probate Code, Family Code, or Welfare and lnstitutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
         in sanctions.
     .   File this cover sheet in addition to any cover sheet required by local court rule.
     .   lf this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
         other parties to the action or proceeding.
     .   Unless this is a colleetions case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes o?Y;,
                                                                                                                                                                           "r,
 Fom Adopled for Mandatory Uae                                                                                         Cd. Rules of Court. nl6 2-3t), 3.220. 3.400-3.403, 3.740:
    Judicial Councl oI Califomia                                  CIVIL CASE COVER SHEET                                      cal. Slandards of Judicial Administmtion, std. 3.10
 Clr&010 [Rsv-SeptembBr 1, 20211                                                                                                                             'M.@u'ls.@.gov
                          INSTRUCTIONS ON HOW TO COMPLETE THE GOVER SHEET                                                                          CM-OIO
                Case 2:23-cv-00677-DAD-CSK     Document 1-2 Filed 04/10/23 Page 4 of 31
To Plaintiffs and Others Filing First Papers. lf you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page l. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. ln item 1, you must check
one box for the case type that best describes the case. lf the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. lf the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper frled in a civil case may subject a party,
its counsel, or both to sanstions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attomey's fees, arising from a transaction in which
property, services, or money was acquired on credit. A mllections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
timefor-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. ln complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. lf a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
comfleting the appropriate boxes in items 1 and 2. lf a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action, A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff s designation, a counter-desisnation that the c3iip#lEg1f,lStflrlf-i;Jlaintiff has made no desisnation, a desisnation that
the case is complex.
  Auto Tort                                      Contract                                           Provisionally Compler Civll Litigation (Cal.
     Auto (22f Personal lnjury/Property              Breach of ContractMarranty (O6)                Rules of Court Rules 3.4011-3.403)
          Damage/lVrongful Death                        Breach of Rental/Lease                          AntitrusuTrade Regulation (03)
        uninsured Motorist {46) (if the                      Contract (not unlavvful detainer           Construction Defect (10)
         case involves an uninsured                              or wrongful eviction)                  Claims lnvolving Mass Tort (40)
         motorist claim subject to                      Contracl/Waranty Breach-Seller                  Securities Litigation (28)
         arbitatlon, check this item                         Plaintiff (not fraud or negligence)        EnvironmentallToxic Tort (30)
       instead of Auto)                                 Negligent Breach of ContracU                    lnsurance Coverage Claims
 Other PI/PD/WD (Personal lnjuryl                            Warranty                                         (arising from provisionally complex
 Property DamageMrongful Death)                         Other Breach of ContracUWarranty                      case type [isted above) (41)
 Tort                                               Collections (e.9., money owed, open            Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                          Enr'orcement of Judgmenl (20)
        Asbestos Property Damage                        Collection Case-Seller Plaintiff                  Abstract of Judgment (Out of
        A$bestos Personal lnjury/                       Other Promissory Note/Col lections                     County)
              Wrongful Death                                 Case                                    Confession of Judgment (nor-
      Product Liability (nof asbaslos or            lnsurance Coverage (not pravisionaily                  domestic relations)
         toxide nviron m e ntal) (24)                    complex) ('18)
                                                                                                     Sister State Judgment
      Medical Malpractice (45)                          Aulo Subrogation
                                                                                                     Administrative Agency Award
          Medical Malpractice-                          Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons                Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                    Contractual Fraud                                  Judgment on Unpaid Taxes
             Malpractice                                Other Contract Dispute
                                                                                                      Other Enforcement of Judgment
      other PIiPDlwD (23)                        Real Property                                              Case
          Premises Liability (e.9., slip            Eminent Domain/lnverse                         Miscellaneous Civi! Complaint
               and fall)                                Condemnation (14)                              Rrco (27)
          Intentional Bodily lnjury/PDMD            Wrongful Eviction (33)
                                                                                                       Other Complaint (not specified
                (e,9", assault, vandalism)          Other Real Property (e.9., quiet title) (26)
                                                                                                           above) (42)
          Intentional lnfl iction of                    Writ of Possession of Real Property
                                                                                                           Dedaratory Relief only
               Emotional Distress                       Mortgage Foreclosure
                                                                                                           lnjunctive Relief Only (non-
          Negligent I nfliction of                      Quiet Tille
                                                                                                                harassment)
                Emotional Distress                      Other Real Property {not eminent
                                                                                                           Mechanics Lien
          Other PI/PDMD                                 domain, landlord/tenant, or
                                                                                                           Other Commercial Complaint
  Non-Pl/PD/Ul/D (Other) Tort                           foreclosure)
                                                                                                                C ase ( rrc n lorVn on-c o m p I e x)
      Business TorUU nfair Business              Unlawful Detainer                                         Other Civil Complaint
          Practice (07)                              Commercial (31)                                          ( n o n-to rl/n o n - co m p le x)
      Civil Rights (e.9.. discrimination,            Residential (32)
                                                                                                   Miscellaneous Civil Petition
           false anest) (not civil                   Drugs (38) (if the case involves illegal
                                                                                                       Partnership and Corporate
            haEssment/ (O8)                          drugs, checkthis item; otheruise,                    Governanc€ (21)
        Defamation (e.9., slander, libel)            repofi as Commercial or Residential)
                                                                                                       Other Petition (not specifred
            (13)                                 Judicial Review                                          abov@) (43)
        Fraud (16)                                   Asset Fodeiture (05)
                                                                                                          Civil Harassment
        lntellectual Property (1 9)                  Petition Re: Arbitration Award (1 1)
                                                                                                          Workplace Violence
        Professional Negligence (25)                 writ of Mandate (02)
                                                                                                           Elder/Dependent Adult
            Legal Malpractice                            Writ-Administrative Mandamus
                                                                                                                Abuse
            Other Professional Malpractice               Writ-Mandamus on Limited Court
                                                                                                           Election Contest
                (not nedical orlegal)                        Case Matter
                                                                                                           Petition for Name Change
        Other Non-Pl/PD/WD Tort (35)                     Writ-Other Limited Court Case                     Petition for Relief From Late
  Employment                                                 Review                                             Claim
        Wrongful Termination (36)                    Other Judicial Review (39)                            Other Civil Petition
        Other Employment (15)                            Review of Health Officer Order
                                                                of

C^il-o10 lRev. Seplembor 1, 20211                                                                                                                   Paga 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.
     Case 2:23-cv-00677-DAD-CSK          Document 1-2      Filed 04/10/23         Page 5 of 31
                                                                             ILECTROIIf .dI!,I
 1    Brian L Vogel, Esq.,/SBN: 130113                                          FILED
      VOGEL LAW, APC                                                EI_?EE_OA CC,r-TiT Or Ciitrfiru.an
2     572F,. Green Street, Suite 305                                     111812023 7:54 PM
      Pasadena Califomia 9 1 1 0i
      (626) 796-7470                                                         f,a'.r::! -rf I'Jur:z
                                                                      Reii: Har:garl- tl[';k ct-'tLe fc,urt
4    Attorneys for PLAINTIFF, TESSA CHANDLER                           regoria Guardado                  D:put'.'
                                                                                  ETILED
5

6

 7                         SUPERIOR COURT OF THE STATE OF CALIFORMA

 8                                     FOR THE COTNTY OF TEHAMA

 9
       TESSA CHANDLER, an individual                    No.:23C1-000013
10
             Plaintiff,
i1                                               COMPLAINT FOR DAMAGES FOR:
              VS
12                                                1. Constructive Discharge in Violation of
       DURAY INSURANCE AND                          Public Policy
13                                                2. Sexual llarassment in Yiolation of Govt
       FINANCIAL SERVICES, INC.; A                   Code 512940
t4     corporation; TIME DURAY, an individual;    3, Discrimination Based on Gender and Hostile
       Does 1 through 100 Inclusive                  Work Environment in Violation of FEHA
15
                                                     (Govt Code $12940)
             Defendants.
16                                                4. Harassment Based on Gender and Hostile
                                                     Work Environment in Violation of FEHA
L7                                                   (Govt Code $12940(i))
                                                  5. Failure to Prevent Discrimination and
18
                                                     I{arassment (Govt. Code $f 2940(k))
                                                  6. Yiolation of Labor Code $1102.5
19
                                                  7, Violation of Unfair Business Practices
20
                                                     (B & P $17200, et seq.)
                                                  8. Intentional Inlliction of Emotional Distress
2I
11
LL
                                                             FOR JURY TRIAL
ZJ
.A
L*
      PLAINTIFF TESSA C}{ANDLER complains and alleges against Defendants DURAY
25
      INSURANCE AND FINANCIAL SERVICES fNC., a corporation and TIM DURAY, an
26
      individual as foliows:
27

28                                               PARTIES
                                                    1

                                          COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK             Document 1-2         Filed 04/10/23       Page 6 of 31


 1          l. PLAINTIFF, TESSA CI{ANDLER (*PLAINTIFF"), is, and was at all times herein
a
L
     mentioned, an adult female residing in the County of Butte, State of California.
J
            2. PLAINTIFF is informed and believes and thereon alleges that Defendant DURAY
4
     INSURANCE AND FINANCIAL SERVICES INC. (*DEFENDANT EMPLOYER") and at all
5
     times herein mentioned was, a corporation headquartered in Manassas, State of Virginia and
6

 7
     doing business in the State of California.

 I          3. PLAINTIFF is informed and believes and thereon alleges that Defendant TIM DURAY

 I   ("DEFENDANT DURAY") and at all times herein mentioned, is an adult male over the age of
10
     eighteen and a resident of the County of Manassas, State of Virginia.
11
            4. PLAINTIFF is ignorant of the true names and capacities, whether individual, corporate,
t2
     or associate, of those defendants sued herein as DOES 1 through 25, inclusive, and therefore sues
l3
     these defendants by these fictitious names. PLAINTIFF will amend this complaint to allege the
14

15   true names and capacities of these defendants DOES 1 through 25 when such information is

t6   ascertained. PLAINTIFF is informed and believes and thereon alleges that each of the fictitiously

t7   named defendants is responsible in some manner for the occrurences herein alleged, and that
18
     PLAINTIFF's damages as herein alleged were proximately caused by their conduct-
19
             5. PLAINTIFF knows the identities of DOES 26 through 50, inclusive, believes they have
20
     damaged him, but is unaware of their capacity, whether individual, corporate, or associate, or
2t
     conduct as described in this complaint. Because PLAINTIFF is ignorant of their capacity or
22

23   conduct, he sues them fictitiously. PLAINTIFF will amend this complaint when he has

24   hnowledgo gf fasto indisating the trug neuflrre of ttre capaeiq,or qpndrrct of tl.ese fictitiously

25   named defendants with regard to the events described in this complaint.
26
             6. PLAINTIFF is informed and believes and thereon alleges that, at all relevant times,
27
      each of the defendants, whether named or fictitious, was the agent or employee of each of the
28
                                                         2


                                         COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK             Document 1-2       Filed 04/10/23     Page 7 of 31
I      other defendants, and in doing the things aileged to have been done in this complaint, acted
2
       within and outside of the course, scope, or under the authority of his or her agency, employment,
a
J
       or representative capacity of, or with consent or ratification by, the other co-defendants, and each
4
       of them.
5
              7. PLAINTIFF is informed and believes and thereon alleges that DEFENDANT
6

7
       EMPLOYER's managing agents, ofEcers, supervisors, or directors aided, abetted, condoned,

 8     pennitted, approved authorized, or ratified the unlawfirl acts described herein. Said conduct by

9      DEFENDAIIT EMPLOYER managing agents, officers, supervisors, or directors was done with
10
       malice, oppression, or fraud entitling PLAINTIFF to exemplary and punitive damages.
11
                                          FACTUAL ALLEGATIONS
12
               8. PLAINTIFF was formerly employed by DEFENDANT EMPLOYER as an agent/team
TJ

       member at the rate of $18 per hour from on or about mid-March,zD2z through on or about April
t4
15     25,2022 when PLAINTIFF was constructively discharged.

t6             9. On or about mid-March,2022, PLAINTIFF accepted a remote position with

17     DEFENDANT EMPLOYER. PLAINTIFF had been seeking a remote position which would
18
       allow PLAINTIFF to care for her mother who was no longer able to live independently and was
t9
       planning to move in with PLAINTIFF.
20
                  10. As a result, PLAINTIFF left her employment with the State Farm insurance office that
21
       she had been working at to accept the remote position with DEFENDANT EMPLOYER.
22

Z3                1 1.   PLAINTIFF first met TIM DURAY (*DEFENDANT DURAY") in San Francisco

24     during a computer pick up and 2-day trainine.
25
                  12. During the training, DURAY exhibited bizarre behavior which displayed a remarkable
26
       Iack of self-control as DURAY freely used profanity and made repeated sexual references which
27
       created a hostile work environment.
28
                                                          a
                                                          J



                                           COMPLAINTFORDAMAGES
     Case 2:23-cv-00677-DAD-CSK                Document 1-2      Filed 04/10/23      Page 8 of 31


I           13. Dwing PLAINTIFF's initial interaction with her boss, DURAY asked PLAINTIFF to

2    give an example of PLAINTIFF's "sales pitch."
J
            14. PLAINTIFF proceeded with her sales pitch as follows: "Hello. My name is Tessa I am
4
     calling from State Farm...I see here tlat you have been shopping online for insurance, tell me
5
     what are you driving?
6

7            i5. DURAY intemrpted PLAINTIFF by shouting: *STOP! STOP! STOP!" See what went

 8   wrong? Have you ever watched Monty Python; the one where they were doing sex education in a

 9   large classroom. Well, in the center of the class they walked in two naked people and had the
10
     class raise their hands and instruct the couple what do. The first boy raises his hand and says to
1t
     the teacher: The first thing you do is stimulate the clitoris! The teacher replies: Oh! Jump straight
L2
     to the clitoris will ya, no that is not the way!"
13
             16. PLAINTIFF's shock at DURAY's conduct prevented PLAINTIFF from being able to
t4
15   recollect the remainder of DURAY's "advice."

16           17. DURAY concluded the role play sales pitch session by reiterating the takeaway iesson

t7   to PLAINTIFF.
18
             18. DURAY repeated "Tessa, you cannot jump straight to the clitoris. That is not how you
t9
     are successfirl. I mean I feel bad for Vickie if that's how ya know."
20
             19. The training session continued the rest of the day and another training the following
21
     day. Throughout the remainder of the training DURAY repeatedly used extremely offensive
22

Z3   language including "fuck, fucked in the ass, bitch slap or dumb shit."

24           20. Although PLAINTIFF was disgusted/horrified by DURAY's behavior, since

25
     PLAINTIFF was in midst of petitioning for conservatorship over PLAINTIFF's mother, moving
26
     PLAINTIFF's mother in with PLAINTIFF in 4 days and PLAINTIFF could simply not afford to
27
     remain unemployed during this difficult transitional period. Therefore, PLAINTIFF remained at
28
                                                         4


                                         COMPLAINT FORDAMAGES
      Case 2:23-cv-00677-DAD-CSK               Document 1-2        Filed 04/10/23      Page 9 of 31
 i     the job for the time being.

2
              21. At that point, PLAINTIFF was committed to trying to endure DURAY's behavior for

       the sake of PLAINTIFF's farnily and immediate priorities.
4
              22. During the next few days, PLAINTIFF attended training sessions that took place over
 5
       Skype - for- business through state Farm computer systems.
 6

 7            23. When DURAY provided the training on leads and how to approach them, the story

 8     told to inspire patience and planning out objectives before attempting contact went as follows:

 9                  "On top of a hiil stood fi/o bulls and all below were a group of cows. On the
                    hill was the daddy buIl and ayounger son bull. The son says to the big dad
10
                    bull "Dad, lets run down the hill and fuck one of those cowsloo The dad bull
11                  replies "Son, lets WALK down there and fuck all of them."

t2             24. PLAINTIFF was absolutely offended by DURAY's shockingly crude and graphic

13     "story."
l4             25. DURAY did not relent and continued to relate to PLAINTIFF in a crude and sexually
15
       offensive rramler throughout the duration of her employment.
16
                  26. PLAINTIFF was so disgusted and offended by DURAY's conduct that PLAINTIFF
17
       was determined to leave the job and never work for State Farm again.
18

t9                27. Ot or about March 2022, PLAINTIFF participated in the next training call designed

20     on how to create quotes that were lower than the competition. DURAY had PLAINTIFF mockup

21,
       an appiication using an address provided. After DURAY told PLAINTIFF,'oYou fucked this up,
))
       you fucked this up so much. Don't worry we can fix it" DURAY and PLAINTIFF opened the
23
       application that PLAINTIFF had created.
24
                  29- D.*i-g tlre moek application) DrJR-AY instrr,rgte<l PLAI}{TIFF tg rniorgprsoent. ttrat thg
25

?6     particular home did not have a fireplace. PLAINTIFF told DURAY that ether was a masonry

27     fireplace" DURAY told PLAINTIFF "No. We put no, because underwriting will want photos and

28     I am not going out there to take pictures. So, it i3a No."


                                             COMPLAINT FOR DAMAGES
      Case 2:23-cv-00677-DAD-CSK            Document 1-2        Filed 04/10/23       Page 10 of 31


i            29. DURAY told PLAINTIFF that she should state that the residence did not have a

2
      sprinkler system because "Ever if there is a sprinkler system- always put no because we don't
al
J
      want the water damage liabiiity."
4
             30. When PLAiNTIFF correctly informed DURAY that there was not a responding fire
5
      department within 10 miles of the home, DURAY changed PLAINTIFF's response to indicate
6

7     that there was a responding fire department within 10 miles of the home.

 I           31. PLAINTIFF, who had experience having previously worked for State Farm was well

9     aware that a volunteer fire department would not qualify as a responding fulltime fire

10
      departmeut.
1i
              32. PLAINTIFF complained to DURAY that a volunteer fire department would not
t2
      qualifu as a responding fire department and explained PLAINTIFF's knowledge of the law and
13
      PLAINTIFF's rationale.
14
                                                                             *STOP! STOP! STOP! This
15            33. DURAY became irate, intemrpted PLAINTIFF, yelling,

t6     is not up for negotiation why are you arguing with me? This is aNO every time!!"

17            34. PLAINTIFF was in great distress due to DURAY's affempt atrate manipulation.
18
              35. DURAY instnrcted PLAINTIFF when dealing with a single line auto customer who
19
       had a house to give the customer the Homeowners discount.
2A
              36. DURAY explained to PLAINTIFF that the customer would then have 6 months to
21
       obtain a homeowners policy with DEFENDANT EMPLOYER or experience a 15ol rate hike.
22

/.3           37. PLAINTIFF knew that DURAY's scheme was contrary to State Farm's principais and

24     way of doing business. Ordinariiy, the oustorner ra,ould not qualifr for the discount until a
25
       homeowner's application was bound and paid and only then will the customer receive a discount.
26
               38. PLAINTIFF was afraid that she could jeopardize her insurance license if PLAINTIFF
27
       were caught frlling out these rate manipuiated quotes to procure business, only to raise customer's
28
                                                         5



                                          COMPLATNT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK            Document 1-2      Filed 04/10/23      Page 11 of 31

 I     rates by l5o/o onrenewal because the customer did not obtain ahomeowner's policy. DURAY's

2
       unlawful policy held the customer hostage unless the customer purchased additional business
3
       coverage.
4
               39. For review training on or about April 25, 2022, PLAINTIFF was to call a homeowner
5
       and reviewtheir changes requested. Again, PLAINTIFF chailenged DURAY on his unlawful
6

7      business practices.

 8             40. In order to obtain an accurate Estimated Replacement Cost (*ERC") to have a

 9     transparent and truthfirl conversation with the insured, PLAINTIFF created the ERC for the
10
       customer policy that had only the ERC from the policy origination date. The updated ERC after
11
       made and if used to create permanent change or added to the policy as a peflnanent document is a
12
        document that must be delivered to the customer, who verifies that the features of their home are
13
        properly recorded in the policy.
l4
i5             41. PLAINTiFF ran the new ERC and explained to DURAY how PLAINTIFF would

i6      review the ERC and deliver the ERC to the customer. DURAY instnrcted PLAINTIFF not to

17      deliver the ERC to the customer.
18
               42. PLAINTIFF challenged DURAY and told PLAINTIFF that delivering the ERC to the
19
        customer was mandatory. DURAY insisted that PLAINTIFF was incorrect and again instructed
2A
        PLAINTIFF not to deliver the ERC to anyone ever.
21

22
               43. Due to the ongoing hostile work environment brought about by the highly offensive

Z3      sexually themes and DURAY's illegal policies and practices, the work environment became truly

24      intolerable and PLAINTIFF was compelled to resign her employment on or about April25" 2022.
25
                                          JURISDICTION AND VENUE
26             44. This court is the proper court for the filing of this action. PLAINTIFF's employment
27
        with DEFENDANT EMPLOYER was in the counry of Teham4 California, State of California-
28
                                                         7



                                           COMPLAINT FORDAMAGES
      Case 2:23-cv-00677-DAD-CSK             Document 1-2            Filed 04/10/23   Page 12 of 31


1            45. PLAINTIFF suffered damages as a result of the conduct alleged herein in excess of
2     this court's jurisdictional minimum in an amount subject to proof at triai.
J
                                      ADMINISTRATIYE EXIIAUqTION
4
               46. PLAINTIFF timely filed a complaint against DEFENDANT EMPLOYER with the
5
      California Civil Rights Department ("CCRD") containing the allegations herein expressed.
6
      PLAINTIFF timely exhausted her administrative remedies with the CCRD prior to filing this
7

8
      complaint with respect to the conduct alleged herein.

9             47   . The CCRD issued to PLAINTIFF a right to sue notice dated January \6,2023, a copy
10    of which is attached hereto as Exhibit o'A." This action is timely commenced within one year
11
      from the date of that notice.
12
                          FIRST CAUSE OF ACTION FIRST CAUSE OF ACTIOI\T
13
                   CONSTRUCTIVE DISCHARGE IN VIOLATION OF PUBLIC POLICY
l4
                                          (Against All Defendants)
15
              48. Each and every allegation set forth in peragraphs 1 to 47 above, is hereby reaileged
16
      and incorporated by reference as if fully set for.th herein.
T7
              49. PLAINTIFF is informed and believes and thereon alleges that DEFENDANT
18
      EMPLOYER constructively discharged PLAINTIFF for refusing to violate state and federal law
19

20    in violation of the well-established, substantial, and fundamental public policies of this state

2l    foturd in the following laws:

22              a. Labor Code $1102.5 which prohibits an employer from retaliating against an

23
      employee for refusing to participate in an activity that would result in a violation of state or
)a-
      federal statute;
25
                   b. Labor Code $1102.5(c) which prohibits an employer &om retaliating against an
26

27
       employee for refusing to participate in an activity that would result in a violation of

28     state or federal   stafute;
                                                          g



                                          COMPLAINT FOR DAMAGES
    Case 2:23-cv-00677-DAD-CSK            Document 1-2        Filed 04/10/23     Page 13 of 31

1               c. At all times mentioned herein, Government Code sections 12940, subdivision (a), was
                                                                                                             ]




2
      in full force and effect and binding on DEFENDANT EMPLOYER. Califomia's Fair
J                                                                                    *FEHA") prohibits
      Employment and Housing Act, Government Code sectionl294A et seq. (the
4
       an employer, because of an employee's gender to discriminate against a person in the terms,
5
       conditions, or privileges of employment.
6

7              d. Labor Code $98.6 which prohibits an employer fiom discriminating. r'etaliating. or

 8     taking anv'. adverse action against airy employee in his employment because the ernployee or

 9     applicant engaged in aryv- conduct delineated;
i0            e. Labor Code $2856 which provides that an employee shall substantially comply rvith all
11
       the directions of his employer concerning the service on w'hich he is engaged, except rt&.ere such
12
       obedience is impossible or unla,ulfirl. or lvould impose neu'and unreasonable burdens upon the
t3
       employee;
14

15            f. Civil Code $$ 1572 and 1573 which impose liability for actual and constructive fraud;

16             g. Civil Code $$ 1709 and i710 which impose liability upon one for deceit by one who

17     willfuily deceives another with intent to enter into a contract;
18
               h. Business and Professions Code $17200 which prohibits unfair, unlawful or fraudulent
19
       business practices;
20
               i. Califomia Government Code $12965G) which provides for an award of attorneys' fees
2t
       and costs associated with PLAINTIFF's prosecution of the causes of action under Califomia
22

23     Govemment Code $12900 et seq.;

24             j. California Labor Code 1102.5 which provides for an award of attomeys' fees and; and
25
               k. All other state and federal statutes, regulations, administrative orders, and ordinances
26
       which effect society at large, and which discovery will reveal were violated.
27
               71. DEFENDANT EMPLOYER intenfionally created and knowingly perrnitted the
28
                                                          9


                                          COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK              Document 1-2         Filed 04/10/23      Page 14 of 31


I    discriminatory, retaliatory, and otherwise unlawful working conditions herein alleged.
2           72- As an actual and proximate result of DEFENDANT EMPLOYER's aforementioned
J
     willful, knowing and intentional dismimination and retaliation against PLAINTIFF by
4
     constructively discharging PLAINTIFF due to PLAINTIFF's unwillingness to engage in
5
     fraudulent and deceptive business practices, PLAINTIFF has suflered and continues to suffer
6

7    harm, including, without limitation,loss of employment, lost earnings, and other employment

 8   benefits, in an amount in excess of this court's jurisdictional limits and subject to proof at trial.

 9           73. The aforementioned wrongful conduct of DEFENDANTS were done with oppression,
l0   fraud, or malice, or with a conscious disregard of PL{NTIFF's rights under, among other
11
     aforementioned laws and the Labor Code entitling PLAINTIFF to an award of punitive damages
t2
     to punish and deter DEFENDANT EMPLOYER from engaging in the aforementioned conduct.
i3
             74. PLAINTIFF is informed and believes and thereon alleges that at all times relevant
14

15   herein, DEFENDANT EMPLOYER's managing agents, offrcers, or directors, including without

16   limitation ratified or authorized the aforementioned wrongfirl conduct, and were themselves

L7   guiity of oppression, fraud, or malice toward PLAINTIFF or guilty of acting in conscious
18
     disregard of PLAII{TIFF's legal rights.
19

20
                                       SECpND CAUSE OF ACTION
2l
                                      .   SEXUAL HARASSMENT
22

                                           (Against All Defendants)

24           137. PLAINTIFF re-alleges and incorporates by reference each and every allegation set
,<
     forth in paragraphs 1 to 136 above, as though fully set forth herein.
26
             138. DURAY engaged in a pattem and practice of sexually harassing PLAINTIFF in
27
     violation of California Govemment Code 12940 and 12940(1)(1). Such conduct included making
28
                                                        10



                                          COMPLAiNT FORDAMAGES
     Case 2:23-cv-00677-DAD-CSK              Document 1-2       Filed 04/10/23       Page 15 of 31

1      inappropriate, unwelcomed comments in PLAINTIFF's presence regarding sex and gender as set

2
       forttr in the preceding paragraphs.

               139. DEFENDANT EMPLOYER failed to exercise reasonable care to prevent and
4
       promptly correct DURAY' s inappropriate conduct.
5
               140. As an actual and proximate result of the aforementioned harassing and
6

7      discriminatory conduct by DEFENDANT EMPLOYER and DURAY, PLAINTIFF has suffered

8      and continues to suffer harm, including, without limitation, lost earnings and other employment

9      benefits, humitiation, embarrassment, physical harm, and mental anguish, ali to her damage in an
10
       amount in excess of this court's jurisdictionai limits and subject to proof at trial-
11
               141. DEFENDAI.{T EMPLOYER and DURAY committed the acts alleged herein
t2
       maliciously, frauduiently, and oppressively, in bad faith, with the wrongfirl intention of injuring
13
       PLAINTIFF, from an improper and evil motive amounting to malice, and in conscious disregard
t4
t5     of PLAINTIFF's rights. PLAINTIFF thus is entitled to recover punitive damages from

16     DEFENDANT EMPLOYER and DURAY in an amount according to proof.
17              142. As a resuit of DURAY's harassment and DEFENDANT EMPLOYER's failure to act
18
       to remediate or prevent harassment as alleged herein, PLAINTIFF has no plain, adequate or
L9
        complete remedy at law and defendants continue to engage in said alleged wrongful practices.
2A
        Therefore, PLAINTIFF requests that in addition to being made whole and afforded all benefits
21
        attendant thereto that would have been afforded PLAINTIFF but for said discrimination and
22

23      harassment, that defendants, their agents, successors, employees and those acting in concert with

24      them be enjoined permanently from engaging in each of the r:nlawful practices, policies, usages
25
        and customs set forth herein, and that they be required to develop posting policies, grievance
26
        procedures and training regarding sexual harassment.
)1
                143. As aresult of DEFENDANT EMPLOYER and DURAY's discriminatory and
28
                                                           11



                                             COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK             Document 1-2       Filed 04/10/23      Page 16 of 31


 1   harassing conduct as alleged herein, PLAINTIFF is entitled to reasonable attomey fees and costs

2
     of suit provide by California Govemment Code 12965(b).
 a
 J

4
                                       THIRD CAUSE OF ACTION
 5
                    DISCRIMINATION BASED UPON GENDER AI{D HOSTILE
 6

 7                       WORI( EI\TWRONMENT IN VIOLATION OF FEHA

 8                                          tGovt Codg Q129401
 9                           (Against Defendant Employer and all Doe Defendants)
10
            199. PLAINTIFF hereby incorporates and re-alleges the allegations set forth in Paragraphs
11
     1 through 198 above as though fully stated herein.
12
            200. PLAINTIFF was subjected to sexual harassment, profanity, lewdness based upon
13
     PLAJNTIFF's gender.
14

15         205. DEFENDANT EMPLOYER's wrongful conductproximately caused PLAINTIFF to

t6   suffer general, special and statutory damages in an amount to be proven. PLAINTIFF has been

17   required to hire an attomey and is entitled to recover reasonable attomey fees.
18

t9                                    FOURTII CAUSE OF ACTION
20

2t                       ffiffiilffi,-:}"ffi:ffiJ,Tff
22                                         [Govt. Code S 12940(i)l
                                           (Against All Defendants)
23
             206. PLAINTIFF realleges and incorporates by reference each and every allegation set
24
      forth in paragraphs 1 to 205 above, as though fully set forth herein.
25

26            207. At all times mentioned herein, Govemment Code sections 12940, subdivision (a)

27    and (1) was in full force and effect and binding on DEFENDANT EMPLOYER.

28
                                                       t2


                                        COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK            Document 1-2        Filed 04/10/23     Page 17 of 31

 I             208. PLAINTIFF was subjected to sexual harassment, profanity, lewdness based upon
2
       PLAINTIFF's gender.
J

4
               214. DEFENDANT EMPLOYER's conduct, as alleged hereinabove, constitutes gender
5
       harassment under the FEHA, including Government Code section 12940, subdivision (a), and (1).
6

7              215. DEFENDANT EMPLOYER subjected PLAINTIFF to adverse employment actions

 8     in violation of the FEHA inciuding, but without limitation by harassing, discriminating and

 9     retaliating against PLAINTIFF due to PLAINTIFF's gender.
10

11

t2
                                          FrFTH CAUqE OF_ACTrqN
IJ
          FAILURE TO PREYENT DISCRIMINATION, IIARASSMENT Ai\D RETALIATION
t4
15                                            (Govt. Code S12940(k))

16                          (Against Defendant Employer and All Doe Defendants)
t7              160. Each and every allegation set forth in paragraphs I to 159, above, is hereby realleged

18
        and incorporated by reference as if fully set forth herein.
19
                161. At all times mentioned herein, Government Code sectio n lIg4l,subdivision (k) was
20
        in full force and efflect and binding on DEFENDANT EMPLOYER making it an unlawful
2l
        employment practice "[f]or an employer. . . to fail to take all reasonable steps necessary to
22
        prevent discrimination. . . from occurring." (Govt. code, $ 12940, subd. (k).

24              162. At the time of her constructive discharge, DEFENDANT EMPLOYER knew or
25
        should have known that DURAY had been sexually harassing PLAINTIFF. Despite such
26
        knowiedge, DEFENDANT EMPLOYER failed to act promptly or to reasonably investigate,
27
        controi, correct, educate, train, discipline, or otherwise prevent the termination of employees, Iike
28
                                                          l3

                                           COMPLAINT FORDAMAGES
      Case 2:23-cv-00677-DAD-CSK               Document 1-2          Filed 04/10/23      Page 18 of 31


 1    PLAINTIFF, who sustain injuries.
2
              163. As an actual and proximate resuit of DEFENDANT EMPLOYER's aforementioned
3
      failwe to prevent discrimination and harassment, PLAINTIFF has suffered and continues to
4
      suffer harm, including lost earnings and other employment benefits, humiliation, embarrassment,
 5
      physical harm, and mental anguish, all to his damage in an amount in excess of this court's
 6
      jurisdictional limits and subject to proof at trial.
 7

 8            164. The aforementioned discriminatory conduct of DEFENDANTS herein were done

 9    with oppression, fraud, or malice, or with a conscious disregard of PLAINTIFF's rights to be free
10
      from discrimination in employment, justifuing an award of punitive damages by way of example"
11
      punishment, and deterrence.
t2
              i65. As an actual and proximate result of the aforementioned acts and omissions by
13
      DEFENDANT EMPLOYER and DURAY, PLAINTIFF has been compelled to retain the services
1,4


15    of counsel to protect and enforce her rights and, therefore, has and will incur attorneys' fees, legal

16    expenses, sxpert fees, and costs for which PLAINTIFF is entitled to reimbursement pursuant to

17    Govemment Code sectionl2965, subdivision (b) in an amount according to proof.
18

19
                                           SIXTH CAUSE OF ACTION
20
                                   vroLATroN oF LABOR CODE S1102.s
2l
))                          (Against Defendant Employer and all Doe Defendants)

               100. Each and every allegation set forth in paragraphs 1 to 99, above, is hereby realleged

24    and incorporated by rsfersnsE ao if fir1iy set forth herein.

25             101. PLAINTIFF hereby brings this cause of action under Califomia Labor Code $1i02.5
26
      which prohibits an employer from retaiiating against an employee for refusing to participate in an
27
       activity that would result in a violation of a state or federal statute, or a violation or
28
                                                             14



                                           COMPLAINT FOR DAMACES
 Case 2:23-cv-00677-DAD-CSK             Document 1-2        Filed 04/10/23      Page 19 of 31
 1   noncompliance with a state or federal rule or regulation.

2
             102. In response to PLAINTIFF's complaints that DEFENDANT EMPLOYER was

     engaging in fraudulent and deceptive business practices designed to mislead DEFENDANT
4
     EMPLOYER's customers/clients as described above, DEFENDANT EMPLOYER retaliated
 5
     against PLAINTIFF by creating a hostile working environment and demanding that PLAINTIFF
6

 7
     participate in DEFENDANT EMPLOYER's scheme to defraud customers.

 8           103. Labor Code $1102.6 provides that once it has been demonskated by a

 I   preponderance of the evidence that an activity proscribed by $1102.5 was a contributing factor in

10
     the alleged prohibited action against the employee, the employer shall have the burden of proof to
11
     demonstrate by clear and convincing evidence that the alleged action wouid have occurred for
12
     legitimate, independent reasons even if the employee had not engaged in activities protected by
13

74   $1102.s.

15           104. As a direct, foreseeable and proximate result of the actions of DEFENDANT

16   EMPLOYER as described in this cause of action, PLAINTIFF has suffered and continues to

t7   suffer, severe emotional distress, substantial losses in saiary, bonuses, job benefits, and other
18
     employment benefits he would have received from DEFENDANT EMPLOYER plus expenses
19
     incurred in obtaining substitute employment and not being regularly employed for months, as
20
     well as financial losses, all to the PLAI|,ITIFF's damages, in a sum that exceeds the minimum
2l
))   jurisdiction of this court, to be ascertained according to proof.

ZJ           105. PLAINTIFF is informed, believes, and based thereon alleges that the outrageous and
1A
Lq   despicable conduct of DEFENDANT EMPLOYER described above in this cause of action was
25
     done with oppression, fraud or malice by the DEFENDANT EMPLOYER and the officers,
26
     directors, and/or managing agents and employees of the DEFENDANT EMPLOYER. These
27
     uniawful acts were further ratified by defendants' agents and employees of the DEFENDANT
28
                                                       15



                                        COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK             Document 1-2        Filed 04/10/23    Page 20 of 31


 1    EMPLOYER and done with conscious disregard for the PLAINTIFF's rights and with the intent.
2     design and purpose of iqiriring the PLAINTIFF. By reason, thereof, the PLAINTIFF is entitled to
3
      punitive or exemplary damages against DEFENDANT EMPLOYER, for the act as described in
4
      this cause of action in a sum to be determined at the time of trial.
5

6

 7                                    SEYENTH CAUSE OF ACTION

 8                       VIOLATION OF UNFAIR BUSINESS PRACTICES ACT
 9                                        (Against AII Defendants)
              96. Each and every allegation set forth in paragraphs I to 95 above, is hereby realleged
10
      and incorporated by reference as if fully set forth herein.
i1
12            97. DEFENDANT EMPLOYER has engaged and continues to engage in unfair business

13    practices in California by engaging in fraudulent and unlaufirl practices consisting of sexually

l4    harassing its employees, creating a hostile work environment, violating insurance laws and
15
      engaging in various unlawful conduct.
16
                 99. The foregoing conduct by DEFENDANT EMPLOYER is "unlawful, unfair and
17
      fraudulent," within the meaning of Business and Professions Code section fi2$0 et seq.
18
              100. PLAINTIFF seeks on his own behalt on behalf of those similarly situated, and on
19

20    behalf of the general public, fulIrestitution and disgorgement of all employment compensation

2t    wrongfirlly withheld, as necessary and according to proof, to restore any and all monies withheld,
22    acquired, or converted by DEFENDANT EMPLOYER by means of the unfair and unlawful
23
      business practices complained of herein. The restitution and disgorgement requested includes all
24
      wages eamed and unpaid, or otherwise promised as aterm of employment, inciuding interest
25
      thereon.
26

27               iOl. The wrongful conduct of DEFENDANT EMPLOYER, as heretofore alleged, unless
28    restrained and enjoined by an order of this court, has and will continue to cause great and
                                                         16



                                          COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK            Document 1-2        Filed 04/10/23    Page 21 of 31
1      ineparabie harm to PLAINTIFF and employees similarly situated, in that DEFENDANT

2
       EMPLOYER will continue to violate the rights of its employees with impuniff, and continue to
J
       engage in conduct prohibited by Business and Professions Code section 17200 et seq. There is no
4
       adequate remedy at law to prevent this abuse.
5
               102. Further, PLAINTIFF seeks an order requiring DEFENDANT EMPLOYER to: (1)
6

7      make restitution and disgorge ali employment compensation wrongfully withheld, as oecessary

8      and according to proof, to restore any and all monies withheld, acquired, or converted by

9      DEFENDANT EMPLOYER by means of the unfair and unlawful business practices complained
10
       of herein.
11

                                        EIGHTH CAUSE OF ACTION
12
                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
13
                                           (Against All Defendants)
14
               i03. Each and every ailegation set forth in paragraphs 1 to 102, above, is hereby realleged
15
       and incorporated by referEnce as if fully set forth herein-
16
                104. DEFENDANT EMPLOYER subjected PLAIIITIFF to unlawful working conditions
17
        by terminating PLAINTIFF for opposing DEFNDANT EMPLOYER's attempts to engage in
t8
r9      fraudulent and deceptive business practices as set forth above.

2Q              105. DEFENDANT EMPLOYER's conduct was outrageous and unprivileged and done
2l      with the intention to cause, and in reckless disregard of the probability of causing, PLAINTIFF
22
        emotional distress.
z)
                106. As an actual and proximate result of DEFENDANT EMPLOYER's outrageous and
24
        unprivileged condust set for, PLAINTIFF has sufferod, and oontinuei; to suffor, seyere ernotional
25

26      distress.

27             107. As a result of DEFENDANT EMPLOYER's intentional infliction of emotional

28
                                                          17


                                           COMPLAINT FOR DAMAGES
     Case 2:23-cv-00677-DAD-CSK           Document 1-2       Filed 04/10/23      Page 22 of 31


 i    distress, PLAINTIFF has suflered consequential damages in an amount according to proof for

2
      lost past and firhre wages, out of pocket expenses, lost employment benefits, diminished
J
      employability, and emotional distress damages.
4
             108. The aforementioned wrongful conduct of DEFENDANT EMPLOYER u,as done
 5
      with oppression, fraud, or malice, or with a conscious disregard of PLAINTIFF's rights to be free
 6

 7    from discrimination and retaliation in employmentjusti&ing an award of punitive damages by

 8    way of example, punishment, and deterrence.

 9           109. PLAINTIFF is informed and believes and thereon alleges that at all times relevant
i0    herein, DEFENDANT EMPLOYER's managing agents, officers, or directors, ratified or
i1
      authorized the aforementioned wrongful conduct, and were themselves guilty of oppression,
L2
      fraud, or malice toward PLAINTIFF or guilty of acting in conscious disregard of PLAINTIFF's
13
      rights under the law.
14

15                    PRAYER FOR RELIEF AND DEMAND FOR JURY TRIAL

16
             WHEREFORE, PLAINTIFF prays for the following relief, to be determined by a jury, as
t7
      follows:
18         1. For general damages, including back pay, front pay, and other monetary relief, in an
19    amount according to proof, but in excess of the minimum jurisdiction of this court;
2A
          2- For special damages in an amount according to proof, but in the excess of the minimum
21
      jwisdiction of this court, in order to compensate PLAINTIFF for loss of past and future earnings.
22
      and all darnages flowing from the PLAINTIFF's loss of earnings, loss of job sectrity, failure to
LJ
      properly advance within PLAINTIFF's career, and emotional injury;
24

25        3. For mental and emotional distress;
26        4. For prejudgment interest on all monetar7 damages to the extent allowed by law;
27

28
                                                       18



                                        COMPLAINTFORDAMAGES
     Case 2:23-cv-00677-DAD-CSK             Document 1-2        Filed 04/10/23     Page 23 of 31
 1          6. For an order declaring unlawful DEFENDANT EMPLOYER's practice of retaliating
 )      against employees who refuse to violate laws prohibiting engaging in fraudulent business
 3
        practices;
 4
            7. For penalties pursuant to Labor Code 1102.5;
 5
            8. For exemplary and punitive damages, as allowed by law, in an amount to be ascertained,
 6

 7      according to proof, that wili sufficiently punish DEFENDANT EMPLOYER" make an example

 8      of it, and deter future conduct;

 9          9. For attorney fees allowable pursuant to Labor Code $12965(b) and Civil Code $1102.5;
10
           10. For costs of suit and disbursements incirred; and
11
           11.   For such other and further relief as the Court deems just and proper.
1,2
        Dated:   //tl/*^;i                                     VOGEL
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15                                                                          TESSA

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                                                          19


                                            COMPLAINT FOR DAMAGES
Case 2:23-cv-00677-DAD-CSK   Document 1-2   Filed 04/10/23   Page 24 of 31




                       EXHIBIT $A))
    Case 2:23-cv-00677-DAD-CSK                                  Document 1-2                   Filed 04/10/23     Page 25 of 31
                STATE OF CALIFORNIA     I Business, Consumer Seryices and Housifg Ageicy                                 GAVIN NEWSOM. GOVERNOR




if,;frY- Civil Rights Department
                2218 Kausen Ddve, Suite J00 | Elk crove I CA I 95758
                                                                                                                             KEVIN KISH. DIRECTOR




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                calcivikights.ca.gov I contact.center@dfeh.ca.gov




   January 16,2423


   Brian Vogel
   572 E. Green St., Suite #305
   Pasadena, CA 91 101

   RE: Notice to Complainant's Attorney
          CRD Matter Number: 2023Af19414717
          Right to Sue: Chandler / Duray lnsurance and Financial Services, lnc. et al.

   Dear Brian Vogel:

   Attached is a copy of your complaint of discrimination filed with the Civil Rights
   Department (CRD) pursuant to the California Fair Employment and Housing Ac1
   Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
   Closure and Right to Sue.

   Pursuant to Government code section 12962, cRD will not serve these
   documents on the employer. You must serve the complaint separately, io all named
   respondents. Please refer to the attached Notice of Case Closure anO Rrgnt
                                                                                    to Sue for
   information regarding flling a private lawsuit in the State of California. A
                                                                                c6urtesy*Notice
   of Filing of Discrimination complaint" is attached for your convenience.

   Be advised that the CRD does not review or edit the complaint form
                                                                      to ensure that it
   meets procedural or statutory requirements.

   Sincerely,

   Civil Rights Department




                                                                                                       CRD - ENF 80 RS (Revised i2122)
  Case 2:23-cv-00677-DAD-CSK                                  Document 1-2                   Filed 04/10/23     Page 26 of 31
              STATg oF CALIiORNiA     I B[siness, Corsumer Seryices and Housing Agency                                 GAVIN NEWSOI\I, GOVERNOR

                                                                                                                           KEVIN KISH. DIRECTOH
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove I CAI 95758



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              800-884-1684 (voice) | 800-700-2320 (TTY) | California's Rday Service al 711
              calcivikights.ca.gov I contact.center@dfeh.ca-gov




 January 16,2023

 RE: Notice of Filing of Discrimination Complaint
        CRD Matter Number: 242301 -194147 17
        Right to Sue: Chandler / Duray lnsurance and Financial Services, lnc. et al.

 To All Respondent(s):

 Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
 Rights Department (CRD)) in accordance with Government Code section 12960. This
 constitutes service of the complaint pursuant to Government Code section 12962. The
 complainant has requested an authorization to file a lawsuit. A copy of the Notice of
 Case Closure and Right to Sue is enclosed for your records.

 This matter may qualify for CRD's Small Employer Family Leave Mediation Pilot
 Program. Under this program, established under Government Code section
 12945.21, a small employer with 5 -19 employees, charged with violation of the
 California Family Rights Act, Government Code section 12945.2, has the right to
 participate in CRD's free mediation program. Under this program both the
 employee requesting an immediate right to sue and the employer charged with
 the violation may request that all parties participate in CRD's free mediation
 program. The employee is required to contact the Department's Dispute
 Resolution Division prior to filing a civil action and must also indicate whether
 they are requesting mediation. The employee is prohibited from filing a civil
 action unless the Department does not initiate mediation within the time period
 specified in section 12945.21, subdivision (b) (4), or until the mediation is
 complete or is unsuccessful. The employee's statute of limitations to file a civil
 action, including for all related claims not arising under section 12945.2, is tolled
 from the date the employee contacts the Department regarding the intent to
 pursue legalaction until the mediation is complete or is unsuccessful. You may
 contact cRD's small Employer Family Leave Mediation pilot program by
 emailing DRDOnlinerequests@dfeh.ca.gov and include the CRD matter number
 indicated on the Right to Sue notice.


 Please refer to the attached complaint for a list of all respondent(s) and their contact
 information.

 No response to CRD is requested or required.

 Sincerely,


                                                                                                      CRD - ENF 80 RS (Revised 12122)
    Case 2:23-cv-00677-DAD-CSK                                     Document 1-2                   Filed 04/10/23     Page 27 of 31
                   SIATE OF CALIrORNiA I 3usiiess, Consumer Services and Housing Agency                                    GAVIN NEWSOM. GOVERNOR




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        Civil Rights Department
                   22'18 Kausen Drive, Suite 100 I Elk 6rove I CAI 95758
                                                                                                                               KEVIN KISII, DIRECTOR




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                   calcivilrights.ca.gov i contact.center@dfeh.ca"gov




   Civil Rights Department




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     Case 2:23-cv-00677-DAD-CSK                                   Document 1-2                  Filed 04/10/23     Page 28 of 31
                 STATE OF CALIFoRNIA     I Busines:, Consume. Services and Housing Agency                                GAVIN NEWSOM. GOVERNOR

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   January 16,2A23

   Tessa Chandler


   RE: Notice of Case Glosure and Right to Sue
          CRD Matter Number: 2A2301 -1941 47 17
          Right to Sue: Chandler / Duray lnsurance and Financial Services, lnc. et al

   Dear Tessa Chandler:

   This letter informs you that the above-referenced complaint filed with the Civil Rights
   Department (CRD) has been closed effective January 16,2A23 because an immediate
   Right to Sue notice was requested.

   This letter is also your Right to Sue notice. According to Government Code section
   12965, subdivision (b), a civil action may be brought underthe provisions of the Fair
   Employment and Housing Act against the person, employer, labor organization or
   employment agency named in the above-referenced comptaint. Tne iivil action must be
   filed within one year from the date of this letter.

   This matter may qualify for CRD's Srnall Employer Family Leave lVlediation pilot
    Program. Under this program, established under Government Code section
    12945-21, a small employer with 5 -19 employees, charged with violation of the
    California Family Rights Act, Government Code section 12945.2, has the right to
   participate in CRD's free mediation program. Under this prograrn both the
   employee requesting an immediate right to sue and the employer charged with
   the violation may request that all parties participate in CRD's free mediation
   program. The employee is required to contact the Department,s Dispute
   Resolution Division prior to filing a civil action and must also indicate whether
   they are requesting mediation. The employee is prohibited from filing a civil
   action unless the Department does not initiate mediation within the time period
   specified in section 1294s.21, subdivision (b) (a), or untilthe mediation is
   complete or is unsuccessful. The emptoyee's statute of limitations to file a civil
   action, including for all related claims not arising under section 1Z}4S.Z, is tolled
   from the date the employee contacts the Department regarding the intent
                                                                                 to
   pursue legal action until the mediation is complete or is unsuccessful.
                                                                              Contact
   cRD's small Employer Famiry Leave Mediation pilot program by emailing
   DRDOnlinerequests@dfeh.ca.gov and include the CRD matter number indicated
   on the Right to Sue notice.



                                                                                                        CRD - ENF 80 RS (Revised 12122)
        Case 2:23-cv-00677-DAD-CSK                                   Document 1-2                   Filed 04/10/23     Page 29 of 31
                     STATE OF CALIFoRNIA     I Business, Consume. Seruices and Housing Agency                                GAVIN NEWSOM. GOVERNOR




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                     Civil Rights Department
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                     800-884-1684 (voice) | 800-700-2320 (TTY) | California's Rday Service at 711
                                                                                                                                 KEVIN KISH. DIRECIOR




                     calcivikights.ca.gov I contact,center@dfeh.ca.90v
        r;rf;S


   To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
   Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
   CRD Notice of Case Closure or within 300 days of the alleged discriminatory act,
   whichever is earlier.

   Sincerely


    Civil Rights Department




                                                                                                              CRD - ENF 80 RS (Revised 12122)
      Case 2:23-cv-00677-DAD-CSK             Document 1-2        Filed 04/10/23        Page 30 of 31


 1                    COMPLAINT OF EM PLOYMENT DISCRIMINATION
                            BEFORE THE STATE OF CALIFORNIA
2                                    Civil Rights Department
?                   Under the California Fair Employment and Housing Act
                                 (Gov. Code, S 12900 et seq.)
4
     ln the Matter of the Complaint of
5    Tessa Chandler                                                       CRD No. 2A2301 -1941 47 17

6                                  Complainant,
     VS
 7
      Duray lnsurance and Financial Services, lnc.
 8
 o
      Tim Duray
10

11                                  Respondents

12

13
     {. Respondent Duray lnsurance and Financial Services, lnc. [s an employer subject to suit
14   under the California Fair Employment and Housing Act (FEHA) (Gov. Code, S 12900 et seq.).

15   2.Complainant is naming Tim Duray individual as Co-Respondent(s).

16   3. Complainant Tessa Chandler, resides in the City of , State of .

17
     4. Complainant alleges that on or about April 25,2A22, respondent took the
18   following adverse actions:
19   Gomplainant was harassed because of complainant's sex/gender, sexual harassment-
     hostile environment.
2A
     Complainant was discriminated against because of complainant's sex/gender, sexual
21
     harassment- hostile environment and as a result of the discrimination was forced to quit.
22
     Complainant experienced retaliation because complainant reported or resisted any form
23   of discrimination or harassment and as a result was forced to quit.

24
     Addltlonal Complaint Details:
25
26
                                                     No.
27
     Date Filed: January 16,2023
28
                                                                               CRD-ENF 80 RS (Revised 12122)
       Case 2:23-cv-00677-DAD-CSK        Document 1-2      Filed 04/10/23      Page 31 of 31


 1   VERIFICATION

 2 l, Brian Vogel, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
     On January 16,2A23,1 declare under penalty of perjury under the laws of the State of
 5   California that the foregoing is true and correct.
 6
                                                                          Pasadena, CA
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27
     Date Filed: January 16,2023
28
                                                                     CRD-ENF B0 RS (Revised 12122)
